
PER CURIAM.
D.L.B. appeals his adjudications of delinquency and sentences for burglary of a dwelling, burglary of a conveyance, attempted robbery, carrying a concealed firearm, and grand theft of a firearm. He argues that the trial court erred in denying his pre-plea dispositive motion to suppress, and by ordering him to pay for competency evaluations by two court-appointed experts when he was indigent. We affirm as to the suppression issue without elaboration, but reverse the order for payment for the reasons explained in W.Z. v. State, 35 So.3d 51 (Fla. 5th DCA 2010).
AFFIRMED IN PART; REVERSED IN PART; REMANDED WITH DIRECTIONS TO STRIKE COSTS FOR COMPETENCY EVALUATIONS.
MONACO, C.J., SAWAYAand LAWSON, JJ., concur.
